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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



IN RE: MOVEIT CUSTOMER DATA
SECURITY BREACH LITIGATION                              MDL No. 1:23-md-03083-ADB

This Document Relates To:

      All Cases



 APPLICATION OF M. ANDERSON BERRY OF CLAYEO C. ARNOLD, APC TO SERVE
  LEADERSHIP IN THE MOVEIT RELATED CASES FILED BY HIS FIRM AND AS AN
EXECUTIVE COMMITTEE MEMBER IN THE MOVEIT MULTIDISTRICT LITIGATION
       Pursuant to MDL Order No. 4, I, M. Anderson Berry of Clayeo C. Arnold, APC hereby

seek to be appointed to a leadership position with respect to all cases listed in Appendix A to this

Application (the “Berry Cases”), and as an Executive Committee Member in the multi-district

litigation MDL No. 1:23-md-03083-ADB currently pending in the United States District Court for

the District of Massachusetts (the “MDL”). I also hereby submit this application in support of

appointing Gary M. Klinger, John A. Yanchunis, and William B. Federman as Lead Counsel in

the MDL. See Appendix D.

       A.    Availability to Commit to a Time-Consuming Project

       The time-consuming nature of the project will not be overly burdensome to my firm. My

firm is readily available to commit to the demands of prosecuting the Berry Cases in a leadership

position, and to serve as an Executive Committee Member in the MDL.




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       B.    Ability to Work Cooperatively with Others

       I am working with (and have worked with) most of the other attorneys who are the

candidates for leadership positions in the MDL. My ability to work cooperatively with fellow

members of the bar was one of many deciding factors that led to my appointment to leadership

positions in other recent data breach cases referenced herein. Indeed, my ability to work

cooperatively with co-counsel will greatly benefit the prosecution of the Berry Cases and the MDL.

       C.    Professional Experience in this Type of Litigation

       I am the head of the Complex Litigation Department at the Clayeo C. Arnold, APC, with

an extensive background in privacy and consumer/government fraud complex litigation. I have

personally handled more than seventy class action cases across the country involving data breaches

and other privacy matters, including over a dozen matters where I held a leadership position. 1

Considering this experience, and my time as an Assistant U.S. Attorney and defense attorney with

Jones Day, appointing me to a leadership position for the Berry Cases, and as an Executive

Committee Member in the MDL, would greatly benefit the prosecution of the MDL. Furthermore,

I have worked with Gary M. Klinger of Milberg, John A. Yanchunis of Morgan and Morgan,

Rachele Byrd of Wolf Haldenstein Adler Freeman & Herz LLP, and William B. Federman of



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  See e.g. In re: Overby-Seawell Company Customer Data Security Breach Litig., MDL No. 1:23-
md-03056 (N.D. Ga.) (Co-Lead Counsel); In Re: Entertainment Partners Data Breach, No. 2:23-
cv-06546-CAS-PVC (C.D. CA.) (Co-Lead Counsel); Burgin et al. v. Housing Authority of the City
of Los Angeles, No. 23STCV06494 (Super. Ct. of CA, Los Angeles) (Co-Lead Counsel); In Re:
Snap Finance Data Breach Litigation, No. 2:22-cv-00761-TS (D. UT.) (Co-Lead Counsel); Ware
v. San Gorgonio Memorial Hosp., CVRI2301216 (Super. Ct. of CA, Riverside) (Co-Lead
Counsel); In Re: Arthur J. Gallagher Data Breach Litigation, No. 1:21‐cv‐04056 (N.D. Ill.) (Co‐
Lead Counsel); In re: Cerebral, Inc. Privacy Practices, No. 2:23-cv-01803-FMO (C.D. Ca.)
(Liaison Counsel); In re: Mednax Servs., Inc., Customer Data Security Breach Litig., No. 21-MD-
02994 (S.D. Fla.) (Executive Comm.); Desue v. 20/20 Eye Care Network, Inc. et al., No. 0:21‐cv‐
61275 (S.D. Fla.) (Executive Comm.); and Smith v. Apria Healthcare, LLC, No. 1:23-cv-01003-
JPH-KMB (S.D. Ind.) (Executive Comm.).
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Federman and Sherwood in many of these cases referenced herein and therefore can attest to their

similar level of expertise and support their appointment in a leadership role for the MDL.

       D.    Capacity to Commit the Necessary Resources to Pursue this Matter

       Through our investigation and prosecution of the Berry Cases, I have demonstrated my

willingness and ability to dedicate the necessary resources to ensure the effective progress of this

litigation. For each of the Berry Cases, my firm has thoroughly investigated, developed, and

gathered evidence in support of these claims, and has already invested and committed significant

resources to prosecute these cases, each of which are directly related to, and arising from, the

instant MDL. My firm is hard-working, organized, and effective. My firm is well-capitalized and

has pursued many complex cases from inception to obtain favorable results, advancing all

litigation costs, and will be able to do so here. My firm has settled many cases with positive

resolutions relatively early but has also pushed cases through class certification and towards trial.

My firm has the experience and resources to handle any procedural scenario presented in this case,

up through a jury trial and appeals. Moving forward, my firm will continue to staff this action with

knowledgeable and experienced attorneys supported by accomplished support staff, as they

prepare pleadings, draft memoranda, conduct discovery, work with experts, and assist in trial

preparation. My firm will also ensure that junior attorneys are offered opportunities to assist in the

prosecution of this litigation and will continue to commit all necessary resources and efforts to the

action, just as they have in other, successful actions.

       E.    Conclusion

       In light of the foregoing, I hereby respectfully request that the Court appoint me to a

leadership position in the Berry Cases, and as an Executive Committee Member in the MDL.




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Dated: December 15, 2023             Respectfully submitted,


                                     /s/M. Anderson Berry
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